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8
                                  UNITED STATES DISTRICT COURT
9
                               NORTHERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                     )       No. CR 05-00284 SI
13                                                 )
            Plaintiff,                             )       SPEEDY TRIAL ORDER
14                                                 )
                                                   )
15   AKRAM CHAUDHRY,                               )
     MOHAMMAD ADIL,                                )
16                                                 )
                                                   )
17      Defendants.                                )
                                                   )
18                                                 )
19
            The United States, by and through Assistant United States Attorney Mark Zanides, and
20
     defendants Akram Chaudhry and Mohammad Adil, through their attorneys Frank Bell and David
21
     Anderson, stipulated in open court, and the Court agrees, that the time period between September
22
     23, 2005, and November 4, 2005, be excluded from the time within which the trial of the above
23
     captioned matter must commence under the Speedy Trial Act.
24
            The Court specifically finds that on August 5, 2005, Mr. Frank Bell was appointed to
25
     substitute in for Mr. Chaudrhy’s prior counsel, and that the discovery in this case at that time
26   consisted of over 1250 pages, including tape recordings of conversations in the Urdu language.
27   On September 23, 2005 the government represented that it would produce substantial additional
28   discovery to the defendant Chaudhry.

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1             The parties agree that to prepare diligently Mr. Bell requires time to review these
2    materials. Accordingly, the foregoing period of time is excluded pursuant to 18 U.S.C. §

3    3161(h)(8)(B)(iv) in order for the parties to prepare effectively for trial, and for continuity of

4    counsel. The parties agree and the Court finds pursuant to 18 U.S.C. § 3161(h)(8)(A) that the

5    ends of justice served by the exclusion of time outweigh the bests interest of the public and the

6    defendants in a speedy trial.

7
     Dated:                                         ________________________________
8                                                   SUSAN ILLSTON
                                                                   S DISCourt
                                                    United States District TRIC
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     Speedy Trial Order
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